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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  SUSAN EGER individually and on behalf of              )
  all others similarly situated,                        )
                                                        )
                                Plaintiff,              )
                                                        )     No. 1:17-cv-01437-TWP-TAB
                        vs.                             )
                                                        )
  PHOENIX FINANCIAL SERVICES LLC,                       )
  PENDRICK CAPITAL PARTNERS II, LLC,                    )
                                                        )
                                Defendants.             )

                                                ORDER

       Court has been advised by counsel that a settlement has been reached in this action.

Therefore, any pending motions are denied as moot, and all previously ordered dates relating to

discovery, filings, schedules, conferences and trial, if any, are vacated. Parties shall file a

stipulation of dismissal within 28 days.

       Dated: 7/7/2017




                                             _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana



Distribution:
All ECF-registered counsel of record via email
